Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 1 of 7 Page ID #:1




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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11      Brian Whitaker,                          Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13        v.                                     Injunctive Relief For Violations
                                                 Of: American’s With Disabilities
14      Tam Thanh Vo; and Does 1-10,             Act; Unruh Civil Rights Act

15               Defendants.

16
17
            Plaintiff Brian Whitaker complains of Tam Thanh Vo; and Does 1-10
18
     (“Defendants”), and alleges as follows:
19
20
21      PARTIES:
22      1. Plaintiff is a California resident with physical disabilities. He is
23   substantially limited in his ability to walk. He suffers from a C-4 spinal cord
24   injury. He is a quadriplegic. He uses a wheelchair for mobility.
25      2. Defendant Tam Thanh Vo owned Nails of Color located at or about
26   8777 W. Pico Blvd., Los Angeles, California, in October 2019.
27      3. Defendant Tam Thanh Vo owns Nails of Color located at or about 8777
28   W. Pico Blvd., Los Angeles, California, currently.


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     Complaint
Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 2 of 7 Page ID #:2




 1      4. Plaintiff does not know the true names of Defendants, their business
 2   capacities, their ownership connection to the property and business, or their
 3   relative responsibilities in causing the access violations herein complained of,
 4   and alleges a joint venture and common enterprise by all such Defendants.
 5   Plaintiff is informed and believes that each of the Defendants herein,
 6   including Does 1 through 10, inclusive, is responsible in some capacity for the
 7   events herein alleged, or is a necessary party for obtaining appropriate relief.
 8   Plaintiff will seek leave to amend when the true names, capacities,
 9   connections, and responsibilities of the Defendants and Does 1 through 10,
10   inclusive, are ascertained.
11
12      JURISDICTION & VENUE:
13      5. The Court has subject matter jurisdiction over the action pursuant to 28
14   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
15   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
16      6. Pursuant to supplemental jurisdiction, an attendant and related cause
17   of action, arising from the same nucleus of operative facts and arising out of
18   the same transactions, is also brought under California’s Unruh Civil Rights
19   Act, which act expressly incorporates the Americans with Disabilities Act.
20      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
21   founded on the fact that the real property which is the subject of this action is
22   located in this district and that Plaintiff's cause of action arose in this district.
23
24      FACTUAL ALLEGATIONS:
25      8. Plaintiff went to Nails of Color in October 2019 with the intention to
26   avail himself of its services, motivated in part to determine if the defendants
27   comply with the disability access laws.
28      9. Nails of Color is a facility open to the public, a place of public


                                               2

     Complaint
Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 3 of 7 Page ID #:3




 1   accommodation, and a business establishment.
 2      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 3   to provide accessible sales counters.
 4      11. On information and belief, the defendants currently fail to provide
 5   accessible sales counters.
 6      12. Plaintiff personally encountered these barriers.
 7      13. By failing to provide accessible facilities, the defendants denied the
 8   plaintiff full and equal access.
 9      14. The failure to provide accessible facilities created difficulty and
10   discomfort for the Plaintiff.
11      15. The defendants have failed to maintain in working and useable
12   conditions those features required to provide ready access to persons with
13   disabilities.
14      16. The barriers identified above are easily removed without much
15   difficulty or expense. They are the types of barriers identified by the
16   Department of Justice as presumably readily achievable to remove and, in fact,
17   these barriers are readily achievable to remove. Moreover, there are numerous
18   alternative accommodations that could be made to provide a greater level of
19   access if complete removal were not achievable.
20      17. Plaintiff will return to Nails of Color to avail himself of its services and
21   to determine compliance with the disability access laws once it is represented
22   to him that Nails of Color and its facilities are accessible. Plaintiff is currently
23   deterred from doing so because of his knowledge of the existing barriers and
24   his uncertainty about the existence of yet other barriers on the site. If the
25   barriers are not removed, the plaintiff will face unlawful and discriminatory
26   barriers again.
27      18. Given the obvious and blatant nature of the barriers and violations
28   alleged herein, the plaintiff alleges, on information and belief, that there are


                                              3

     Complaint
Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 4 of 7 Page ID #:4




 1   other violations and barriers on the site that relate to his disability. Plaintiff will
 2   amend the complaint, to provide proper notice regarding the scope of this
 3   lawsuit, once he conducts a site inspection. However, please be on notice that
 4   the plaintiff seeks to have all barriers related to his disability remedied. See
 5   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 6   encounters one barrier at a site, he can sue to have all barriers that relate to his
 7   disability removed regardless of whether he personally encountered them).
 8
 9   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
10   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
11   Defendants.) (42 U.S.C. section 12101, et seq.)
12      19. Plaintiff re-pleads and incorporates by reference, as if fully set forth
13   again herein, the allegations contained in all prior paragraphs of this
14   complaint.
15      20. Under the ADA, it is an act of discrimination to fail to ensure that the
16   privileges, advantages, accommodations, facilities, goods and services of any
17   place of public accommodation is offered on a full and equal basis by anyone
18   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
19   § 12182(a). Discrimination is defined, inter alia, as follows:
20             a. A failure to make reasonable modifications in policies, practices,
21                or procedures, when such modifications are necessary to afford
22                goods,     services,     facilities,   privileges,    advantages,      or
23                accommodations to individuals with disabilities, unless the
24                accommodation would work a fundamental alteration of those
25                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
26             b. A failure to remove architectural barriers where such removal is
27                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
28                defined by reference to the ADA Standards.


                                               4

     Complaint
Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 5 of 7 Page ID #:5




 1            c. A failure to make alterations in such a manner that, to the
 2                maximum extent feasible, the altered portions of the facility are
 3                readily accessible to and usable by individuals with disabilities,
 4                including individuals who use wheelchairs or to ensure that, to the
 5                maximum extent feasible, the path of travel to the altered area and
 6                the bathrooms, telephones, and drinking fountains serving the
 7                altered area, are readily accessible to and usable by individuals
 8                with disabilities. 42 U.S.C. § 12183(a)(2).
 9      21. When a business provides facilities such as sales or transaction counters,
10   it must provide accessible sales or transaction counters.
11      22. Here, accessible sales or transaction counters have not been provided.
12      23. The Safe Harbor provisions of the 2010 Standards are not applicable
13   here because the conditions challenged in this lawsuit do not comply with the
14   1991 Standards.
15      24. A public accommodation must maintain in operable working condition
16   those features of its facilities and equipment that are required to be readily
17   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
18      25. Here, the failure to ensure that the accessible facilities were available
19   and ready to be used by the plaintiff is a violation of the law.
20
21   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
22   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
23   Code § 51-53.)
24      26. Plaintiff repleads and incorporates by reference, as if fully set forth
25   again herein, the allegations contained in all prior paragraphs of this
26   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
27   that persons with disabilities are entitled to full and equal accommodations,
28   advantages, facilities, privileges, or services in all business establishment of


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     Complaint
Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 6 of 7 Page ID #:6




 1   every kind whatsoever within the jurisdiction of the State of California. Cal.
 2   Civ. Code §51(b).
 3      27. The Unruh Act provides that a violation of the ADA is a violation of the
 4   Unruh Act. Cal. Civ. Code, § 51(f).
 5      28. Defendants’ acts and omissions, as herein alleged, have violated the
 6   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 7   rights to full and equal use of the accommodations, advantages, facilities,
 8   privileges, or services offered.
 9      29. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
10   discomfort or embarrassment for the plaintiff, the defendants are also each
11   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
12   (c).)
13
14             PRAYER:
15             Wherefore, Plaintiff prays that this Court award damages and provide
16   relief as follows:
17           1. For injunctive relief, compelling Defendants to comply with the
18   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
19   plaintiff is not invoking section 55 of the California Civil Code and is not
20   seeking injunctive relief under the Disabled Persons Act at all.
21           2. Damages under the Unruh Civil Rights Act, which provides for actual
22   damages and a statutory minimum of $4,000 for each offense.
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     Complaint
Case 2:19-cv-09524-PSG-JPR Document 1 Filed 11/06/19 Page 7 of 7 Page ID #:7




 1       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 2   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 3
     Dated: November 1, 2019          CENTER FOR DISABILITY ACCESS
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 5
                                      By:
 6
 7                                    ______________________________

 8                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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